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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLUMBIA


RYAN WALLACE ZIMMERMAN,

       Plaintiff,
                                              Case No. 1:16-cv-13-KBJ
v.

AL JAZEERA AMERICA, LLC, et al.,

       Defendants.




                MEMORANDUM OF LAW IN SUPPORT OF MOTION BY
       DEFENDANT LIAM JAMES COLLINS TO DISMISS THE COMPLAINT




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         Defendant Liam James Collins, by and through his undersigned counsel, hereby submits

this Memorandum of Law in support of his motion pursuant to Fed. R. Civ. Proc. 12(b)(6) to

dismiss the First Amended Complaint (“Complaint” or “Compl.”).1

                                     PRELIMINARY STATEMENT

         This defamation lawsuit arises from a documentary news report about one aspect of the

on-going public controversy over the role of banned performance-enhancing substances

(“PESs”) in professional and Olympic sports. That documentary, titled The Dark Side (the

“Documentary”), is the product of a months-long, international investigation of the underground

world of chemists and physicians who enable and promote doping in sports. The Dark Side, in

the form of both a 49-minute video report and an accompanying text version, was produced and

distributed by the international news organization Al Jazeera (sued here as Al Jazeera America,

LLC, Al Jazeera Media Network, and Al Jazeera International (USA) Inc.) and was reported by

Al Jazeera’s employee, defendant Deborah Davies (together, the “Al Jazeera Defendants”), who

have separately moved to dismiss the Complaint.

         Defendant Liam James Collins, a former world-class athlete, was recruited by the Al

Jazeera Defendants to assist in their investigation for The Dark Side by using a hidden camera

and audio recording device when meeting with certain chemists and physicians suspected of

supplying PESs to athletes. Collins was and is not an employee of Al Jazeera and he did not

draft, edit, or publish The Dark Side, much less any of the statements alleged here to be

defamatory. Zimmerman makes no allegation to the contrary (nor could he), which is the first


1
  Defendants Al Jazeera America, LLC, Al Jazeera Media Network, Al Jazeera International (USA) Inc., and
reporter Deborah Davies have concurrently filed a motion pursuant to Fed. R. Civ. Proc. 12(b)(6) to dismiss the First
Amended Complaint. See Dkt. No. 22, see also Dkt. No. 22-1 (Memorandum of Law in Support of Motion to
Dismiss (“AJ Br.”)). Collins hereby joins in that motion and incorporates herein by reference the arguments in
support thereof. See Murdoch v. Rosenberg & Associates, LLC, 875 F. Supp. 2d 6, 8 n.1 (D.D.C. 2012) (permitting
incorporation by reference).

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reason why his Complaint must be dismissed as to Collins: It is an essential element of each of

Zimmerman’s claims that the defendant published the allegedly defamatory statements, and there

is no allegation that Collins published anything, much less the statements at issue.

         Even if Zimmerman had adequately alleged publication by Collins, Zimmerman’s claims

would still fail for two additional, independent reasons, as demonstrated by the Al Jazeera

Defendants and in whose arguments Collins joins: First, Zimmerman cannot show that the

Documentary or the article are reasonably capable of sustaining the defamatory meaning he

attributes to them. Second, Zimmerman is a public figure who is required to but has failed to

plead “actual malice” (knowing or reckless falsity) with the required specificity—indeed, with

respect to Collins, he has entirely failed to plead actual malice at all.

                                          STATEMENT OF FACTS2

A.       Plaintiff Ryan Zimmerman

         Ryan Zimmerman is a “highly successful” starting first baseman for Major League

Baseball’s Washington Nationals. Dkt. No. 9 (Compl.) ¶ 14. Zimmerman began his career at

the University of Virginia, where he was named an “All-American” by multiple sports

organizations. Id. ¶ 15. He also traveled to Taiwan to compete on the U.S. National Team,

which went on to win the World University Baseball Championship. Id. ¶ 16. As their first pick

in the MLB draft as a newly established baseball team in 2005, the Nationals picked Zimmerman

first, and fourth overall. Id. ¶ 17. In the intervening years, Zimmerman “quickly became a

hometown hero and fan favorite” and has played an “integral role” on the Nationals for over a

decade. Id. ¶ 18. In that role, he is the “all-time leader in games, plate appearances, at bats,
2
  For the purposes of Collins’ motion pursuant to Fed. R. Civ. Proc. 12(b)(6), the following facts are drawn from the
First Amended Complaint and assumed for this limited purpose to be true, and from other sources of which this
Court may take judicial notice. Tellabs, Inc. v. Makor Issues & Rights, Ltd., 551 U.S. 308, 322 (2007) (“[C]ourts
must consider the complaint in its entirety, as well as other sources . . . , in particular, documents incorporated into
the complaint by reference, and matters of which a court may take judicial notice.”).

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runs, hits, doubles, home runs, RBI[s], total bases, extra base hits, walks, intentional walks, walk

off hits and defensive innings.” Id. ¶ 19. His on-field prowess has earned him the a National

League All-Star team spot, the Gold Globe Award, the Fielding Bible Award, and the two Silver

Slugger Awards. Id.

       His exploits are not limited to the baseball field: His successful career has led to

numerous endorsements by, among other corporations, “Coca-Cola, . . . Papa John’s Pizza, . . .

PNC Bank, GEICO Insurance, [and] Nike.” Id. ¶ 24. He has also used his corporate connections

to benefit his philanthropic efforts, most notably with the ziMS Foundation, a non-profit founded

by Zimmerman that has donated over $1.5 million to multiple sclerosis research. Id. ¶ 21. This

philanthropic effort was made possible through Zimmerman’s relationships with “numerous

corporate partners,” including “Comcast, . . . Under Armour, . . . Chevrolet, . . . Miller,

Heineken, and Jim Beam.” Id. ¶ 22. In addition, Zimmerman worked with Under Armour to

have a Washington, D.C.-area baseball field dedicated in his name. Id. ¶ 23.

B.     The Al Jazeera Defendants

       Al Jazeera Media Network is a Qatar-based news organization that is the parent company

of Al Jazeera America and Al Jazeera International (USA) Inc. Id. ¶ 5. Al Jazeera International

is a Washington, D.C.-based television broadcasting station. Id. ¶ 4. In 2013, Al Jazeera Media

Network bought former Vice President Al Gore’s media network, Current TV, forming Al

Jazeera America. Id. ¶¶ 25-26. Al Jazeera America, headquartered in New York City, has

“bureaus in 12 cities across the United States” and “is available in more than 60 million homes in

the [United States].” Id. ¶ 3. Al Jazeera Media Network also runs an Investigative Unit, which

“works collaboratively with Al Jazeera Media Network and Al Jazeera America” to investigative

news stories across the globe. Id. ¶ 6. Its investigative news reports cover urgent stories of the

day, ranging from genocide in Myanmar, the workings of Al Qaeda, and the Greek financial
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crisis, to questions about the safety of Boeing aircraft and bribery and corruption in Hollywood.

Id., Ex. B. Deborah Davies is a reporter for the Al Jazeera Investigative Unit and also the lead

reporter on the investigation at the center of this lawsuit. Id.

C.       Defendant Liam James Collins

         Liam James Collins is a former medal-winning hurdler not otherwise associated with Al

Jazeera who was engaged to assist in Al Jazeera’s investigation of PESs. Id. ¶¶ 8, 34. As it was

put in the Documentary:

                  Liam Collins is a British athlete . . . . [who] has run into trouble and
                  found a fresh start on the track. For a while, Liam went into property
                  development promising high returns he couldn’t deliver. Investors lost
                  millions and Liam was banned as a company director. Liam is now
                  back on track in every way competing again and looking for new
                  challenges.

Declaration of Matthew L. Schafer, Ex. 1 at 5:08. According to the Documentary, Al Jazeera

reached out to Collins requesting his help to investigate doping in sports: “He’s perfectly placed

to go undercover by claiming to be an athlete desperate to qualify for the real Olympics.” Id. at

6:40. Collins agreed, explaining that “[i]t’s a closed business among people who are in the know

and here was an opportunity for me personally to be the guy to go undercover and make a

change.” Id. at 6:48.3

D.       The Investigation And Resulting Documentary

         For at least eight months, Al Jazeera conducted an international investigation into doping

in sports. Id. ¶ 40; see also Dkt. No. 22-4 at 2 (Declaration of Andrew Deutsch, Ex. A). Insofar

as relevant to Zimmerman’s claims against Collins, during that investigation, Collins went

undercover “traveling to the Bahamas, Canada and Texas, attempting to make contact with


3
 The Complaint includes numerous gratuitous attacks on Mr. Collins personally that are entirely unrelated to the
subject of the lawsuit. As a public figure, Mr. Collins understands that he is obliged to have a thick skin and he will
not respond to those attacks here, but his forbearance should not be taken as acquiescence.

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suppliers of performance-enhancing substances.” Id. By claiming to be seeking another chance

at the Olympics, Collins was able to “induce[] various people he came into contact with to

discuss the topic of performance-enhancing substances and to provide him with what were

purported to be performance-enhancing substances.” Id. Many people he had contact with are

shown on undercover video giving Collins performance-enhancing drugs. Id. ¶ 40. One such

person was Charles Sly. Id. “[P]rimed” by Al Jazeera “with questions to dig into the claims”

regarding doping, Collins had several conversations with Sly, who offered Collins a steroid,

“Delta 2” or “D-2,” and stated that several professional athletes used the steroid, including “a

bunch of baseball players.” Id. ¶¶ 42, 43. Among the players Sly named was Zimmerman, and

as Collins continued to ask questions about D-2 and how it might help him, he had the following

exchange with Sly, which ultimately was included by Al Jazeera in The Dark Side:

               Collins:       How long have you known Zimmerman?
               Sly:           Probably six years. I worked with him in the off
                              season. That’s how I get him to change some stuff.
               Collins:       Is he on the D-2 as well?
               Sly:           Yeah.
               Collins:       What does he think of the D-2?
               Sly:           It does its job.
               Collins:       Does he notice a lot of power or not?
               Sly:           Yeah, I think some guys have just kind of gotten
                              used to it. It’s the new normal.
Id. ¶ 44. In the written article accompanying the Documentary, Al Jazeera notes that “Sly also

named . . . Ryan Zimmerman, of the Washington Nationals, . . . raising questions about whether

[he] use[s]” performance-enhancing drugs. Id. ¶ 46.

E.     Zimmerman’s Defamation Complaint

       On January 20, 2016, Zimmerman filed the present Complaint against the Al Jazeera

Defendants and Collins. Of the entire Documentary, Zimmerman complains only of the thirty-

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five second segment in which Collins probes Sly about Sly’s claim that Zimmerman used Delta

2, id. ¶ 44, as quoted above. Zimmerman alleges that “Sly’s statements about Mr. Zimmerman”

and D-2 are “per se defamatory” because they “falsely accuse [him] of illegal acts,” namely “the

taking of illegal and banned performance-enhancing substances,” id. ¶ 48. Additionally,

Zimmerman claims that the accompanying article is false and defamatory because it included the

statement that “‘Sly also named . . . Ryan Zimmerman, of the Washington Nationals, . . . raising

questions about whether [he] use[s]’” D-2. Id. ¶ 46 (alterations in Zimmerman’s brief).4

        Based on these two passages, Zimmerman asserts claims for defamation and false light

invasion of privacy, both premised on the assertion that the passages “carry the unmistakable

message that Mr. Zimmerman has taken or is taking illegal performance-enhancing substances.”

Id. ¶¶ 69, 80. He seeks general, special, and punitive damages in an amount to be proven at trial

and additionally seeks an injunction requiring the removal of the references to him and that

defendants be compelled to published a retraction in the New York Times, which is not a party to

this suit, and other relief. Id. at p. 25-26 (ad damnum clause).

                                              ARGUMENT

        Zimmerman’s claims against Collins fail as a matter of law for multiple reasons and the

Complaint therefore should be dismissed with prejudice. A plaintiff can defeat a motion to

dismiss brought pursuant to Rule 12(b)(6) only if he “state[s] a claim to relief that is plausible on

its face,” Bell Atl. Corp. v. Twombly, 550 U.S. 544, 570 (2007), and only if his factual allegations

show “more than a sheer possibility that [defendants have] acted unlawfully,” Ashcroft v. Iqbal,

556 U.S. 662, 678 (2009). Neither “labels,” nor “conclusions,” nor “a formulaic recitation of the

elements of a cause of action” will do. Iqbal, 556 U.S. at 678 (citation and marks omitted).

4
 Originally, the Al Jazeera Defendants indicated that Sly said Howard was using “human growth hormone.” FAC ¶
48-49. They promptly clarified that the substance was alleged to be Delta 2. Id. ¶ 49.

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Instead, a plaintiff must plead facts, and those facts must be more than “‘merely consistent’”

with liability. Id. (citation omitted); see also Twombly, 550 U.S. at 551 (plaintiff failed

adequately to plead conspiracy-based claim based on facts showing mere “parallel course of

conduct”). In essence, pleaded facts must “nudge” claims “across the line from conceivable to

plausible.” Twombly, 550 U.S. at 570. Zimmerman’s claims here as against Collins do not and

cannot meet these standards.

I.     ZIMMERMAN DOES NOT PLAUSIBLY ALLEGE THAT
       COLLINS PUBLISHED THE DOCUMENTARY OR ARTICLE

       Among other things, a plaintiff in a defamation action must show “that the defendant

published the [allegedly defamatory] statement . . . to a third party.” Jankovic v. Int’l Crisis

Grp., 494 F.3d 1080, 1088 (D.C. Cir. 2007). False light claims require the plaintiff to plead that

the defendant gave the challenged statements “publicity.” Shipkovitz v. The Washington Post

Co., 571 F. Supp. 2d 178, 183 (D.D.C. 2008), aff’d, 408 F. App’x 376 (D.C. Cir. 2010). The two

are construed similarly. Weyrich v. New Republic, Inc., 235 F.3d 617, 628 (D.C. Cir. 2001).

Mere participation in an investigation is insufficient to meet the publication requirement where

the defendant neither wrote nor edited the broadcast or article nor had editorial control over the

final product. Tavoulareas v. Piro, 759 F.2d 90, 136 (D.C. Cir.), vacated in part on other

grounds on reh’g, 763 F.2d 1472 (D.C. Cir. 1985), and on reh’g, 817 F.2d 762 (D.C. Cir. 1987).

Instead, a plaintiff must plead that the defendant was involved in the “ultimate publication” of

the allegedly defamatory report. Cf. Tavoulareas, 817 F.2d at 770 n.7; see also Tavoulareas,

759 F.2d at 137 (asking whether special correspondent was “responsible as a principal for the

final publication” (emphases in original)). Where a plaintiff fails to plead facts making it

plausible that a defendant published the challenged statements, courts, including the Court of

Appeals, have not hesitated to dismiss complaints. See, e.g., Browning v. Clinton, 292 F.3d 235,


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247 (D.C. Cir. 2002); Mattiaccio v. DHA Grp., Inc., 908 F. Supp. 2d 136, 139 (D.D.C. 2012);

Saint-Jean v. D.C., 846 F. Supp. 2d 247, 267 (D.D.C. 2012); Am. Petroleum Inst. v.

Technomedia Int’l, Inc., 699 F. Supp. 2d 258, 268 (D.D.C. 2010).

       In Browning, for example, the plaintiff alleged without factual support that the defendant

published the challenged statements to third parties and further alleged that a news organization

subsequently published those statements. 292 F.3d at 247. The Court of Appeals affirmed

dismissal because the allegations as to the defendant’s publication were nothing more than

“vague assertions” and the plaintiff failed to “link[]” the news organization’s publication of the

statements to the defendant. Id.; cf. Tavoulareas, 759 F.2d at 136 (granting judgment

notwithstanding the verdict where defendant secretly recorded conversations as a “special

correspondent” for allegedly defamatory article, because he did not “actually writ[e] or edit[]”

the article and had no “influence or control over the [newspaper] defendants’ handling of the

[recorded] material”). And in Mattiaccio, the plaintiff only generally alleged that defendants had

published an allegedly defamatory report to unnamed former colleagues. 908 F. Supp. 2d at 138.

Judge Kollar-Kotelly dismissed that claim because the complaint stated only that “Defendants

‘caus[ed] the report to be published’” and failed to allege any meaningful, underlying facts

regarding publication. Id. at 138-39.

       Here, as Zimmerman himself alleges, the challenged statements in the Documentary are

“Sly’s statements about Mr. Zimmerman.” Id. ¶ 48. Although Zimmerman includes detailed

factual allegations regarding republication by “Al Jazeera” of those statements in the

Documentary, see id. ¶¶ 37-38 (alleging date, means, and channels of publication of

Documentary and article), he has not pled any facts suggesting that Collins was responsible for




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such publication.5 As relates to Collins, Zimmerman makes only the boilerplate and conclusory

allegation that “Al Jazeera Media Network, Al Jazeera America, Davies and Collins published

the untrue and defamatory documentary.” Id. ¶ 76 (emphasis added); see also id. ¶ 87 (same).

This is precisely the kind of conclusory allegation that the Court of Appeals and other judges in

this District have found to be wholly inadequate at the pleading stage. See, e.g., Browning, 292

F.3d at 247 (affirming dismissal of libel suit where plaintiff failed to “link” individual defendant

with news organization’s subsequent publication); Mattiaccio, 908 F. Supp. 2d at 138 (rejecting

as insufficient allegation that “Defendants ‘caus[ed] the report to be published’”); see also

Tavoulareas, 759 F.2d at 137 (asking whether defendant was principal in final publication). As a

consequence, Zimmerman’s Complaint should be dismissed as against Collins.

II.      THE CHALLENGED STATEMENTS ARE NOT REASONABLY
         CAPABLE OF THE DEFAMATORY MEANING ALLEGED

         Even if the Court were to conclude that Zimmerman has adequately alleged that Collins

published the challenged statements, his Complaint still should be dismissed because the

challenged statements are not actionable. Collins joins in, but will not repeat here, the argument

of the Al Jazeera Defendants in support of their motion to dismiss the Complaint on the

independent ground that, when viewed in the full context of the Documentary and complete

article, the challenged statements are not reasonably understood in the sense alleged by

Zimmerman. AJ Br. at 19-23.




5
  In fact, the Complaint alleges the opposite, repeatedly explaining that “Al Jazeera aired” the Documentary and “Al
Jazeera posted” the accompanying article “on its website.” Id. ¶ 37; see also id. ¶¶ 38 (“Al Jazeera posted a video .
. .”), 39 (“In ‘The Dark Side,’ as reported by Davies . . .”), 43 (“As described by Davies . . .”), 45 (“Al Jazeera
originally included the defamatory statement . . .”), 46 (“Al Jazeera appended a correction . . .”), 53 (“Al Jazeera
posted . . .”), 59 (“Al Jazeera originally falsely reported . . .”), 61 (“Al Jazeera has made and continues to make the
program and news article available . . .”), 62 (“Al Jazeera and Davies have continued to aggressively promote ‘The
Dark Side’ . . .”). But Zimmerman makes no similar allegations as to Collins.

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III.     ZIMMERMAN HAS NOT PLAUSIBLY ALLEGED
         THAT COLLINS ACTED WITH ACTUAL MALICE

         Finally, even were the Court to conclude both that Zimmerman has adequately alleged

publication by Collins and that the Documentary and article are reasonable capably of conveying

the defamatory meaning alleged by Zimmerman, the Complaint still should be dismissed for

failure to adequately plead “actual malice” on the part of Collins. Collins joins in the argument

of the Al Jazeera Defendants on this point, AJ Br. at 23-38, and supplements that argument with

considerations particular to Collins.

         Zimmerman’s defamation and false light claims require him to plead—and ultimately, to

prove—that Collins, personally, acted with the requisite degree of fault. McFarlane v. Esquire

Magazine, 74 F.3d 1296, 1303 (D.C. Cir. 1996); see also Moldea v. New York Times Co., 22

F.3d 310, 319 (D.C. Cir. 1994) (false light claim subject to same constitutional bar). Where the

plaintiff is a public figure, as the world-famous Zimmerman effectively concedes he is, he must

plead and prove by clear and convincing evidence that the defendant published a false statement

of fact with “actual malice.” McFarlane, 74 F.3d at 1301.

         The law draws a line between public figures, who must prove actual malice, and private

figures, who need prove only that the defendant was negligent. It does so because “[p]rivate

individuals are . . . more vulnerable to injury” as they lack the ability of self-help. Gertz v.

Robert Welch, Inc., 418 U.S. 323, 344 (1974). But “[t]hose who, by reason of the notoriety of

their achievements or the vigor and success with which they seek the public’s attention,” are not

so vulnerable; they assume a place on the public stage and thereby maintain “access to the

channels of effective communication” to correct falsehoods published about them, while freely

“run[ning] the risk of closer public scrutiny.” Id. at 342, 344.




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          “Actual malice” is a legal term of art requiring proof that the statement at issue was

published despite “knowledge that it was false or with reckless disregard of whether it was false

or not.” N.Y. Times Co. v. Sullivan, 376 U.S. 254, 279-80 (1964). Reckless disregard “is not

measured by whether a reasonably prudent man would have published, or would have

investigated before publishing.” St. Amant v. Thompson, 390 U.S. 727, 731 (1968). Rather, the

inquiry is a subjective one, requiring evidence demonstrating that the particular defendant

published with a “high degree of awareness of . . . probable falsity.” Id. (quoting Garrison v.

Louisiana, 379 U.S. 64, 74 (1964)); see also 1 Robert D. Sack, Sack on Defamation § 5:5.2 (4th

ed. 2010). Because the constitutional balance favors the First Amendment when public figures

assert defamation claims, the actual malice standard is “a daunting one.” McFarlane, 74 F.3d at

1308.

          A.     Zimmerman Is A Public Figure As A Matter Of Law

          The Supreme Court has identified two distinct categories of “public figures”: “general

purpose” and “limited purpose.” Gertz, 418 U.S. at 345. General purpose public figures have

“assumed roles of especial prominence in the affairs of society,” or “pervasive fame or

notoriety,” and have therefore become public figures “for all purposes and in all contexts.” Id. at

351. Simply put, these plaintiffs are celebrities, those “well-known entertainers and athletes,

[who] frequently endorse products and candidates, thereby indicating the breadth of their

influence and the appropriateness of broad press scrutiny.” Brewer v. Memphis Publ’g Co., 626

F.2d 1238, 1254 n.22 (5th Cir. 1980) (citing Waldbaum v. Fairchild Publications, Inc., 627 F.2d

1287 (D.C. Cir. 1980)); see also Cepeda v. Cowles Magazines & Broad., Inc., 392 F.2d 417, 419

(9th Cir. 1968) (public figures “are, of course, numerous and include artists, athletes, business

people, dilettantes, anyone who is famous or infamous because of who he is or what he has

done”).
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       In Bell v. Associated Press, for example, a court in this District ascribed public figure

status to a professional football player. 584 F. Supp. 128, 130 (D.D.C. 1984). In so holding, the

court explained that “[p]rofessional athletes, including football players, have frequently been

held to be public figures, especially when they have achieved fame or notoriety.” Id. Well-

known professional athletes “can hardly be permitted to hold themselves out as public figures,

seeking a maximum amount of publicity for themselves and their teams with respect to their

athletic achievements, while successfully claiming strictly private status when misconduct is

charged or proved.” Id. at 131-32; see also, e.g., Tavoulareas v. Piro, 817 F.2d 762, 772 (D.C.

Cir. 1987) (describing “well-known athlete[s] . . . [as] the archetypes of the general purpose

public figure”); Time, Inc. v. Johnston, 448 F.2d 378, 380 (4th Cir. 1997) (retired professional

basketball player a public figure); Chuy v. Phila. Eagles Football Club, 595 F.2d 1265 (3d Cir.

1979) (former professional football player a public figure); Cepeda, 392 F.2d at 419

(“extraordinary baseball player” a public figure); Chapman v. Journal Concepts, Inc., 528 F.

Supp. 2d 1081, 1095 (D. Haw. 2007) (professional surfer a public figure); cf. Newcombe v. Adolf

Coors Co., 157 F.3d 686, 695 n.4 (9th Cir. 1998) (“There is a strong argument that Newcombe is

subject to the more rigorous constitutional standard because he is . . . an all-purpose public figure

based on his baseball fame.”). Indeed, most professional athletes concede the obvious when they

institute litigation like this. See, e.g., Piersall v. Sportsvision of Chicago, 230 Ill. App. 3d 503,

595 N.E.2d 103 (1st Dist. 1992) (retired major league baseball player conceded public figure

status); Sprewell v. NYP Holdings, Inc., 819 N.Y.S.2d 851 (N.Y. 2006) (same with respect to

another professional basketball player).

       Zimmerman is a world-famous baseball player whose prominence has begot multiple

endorsement deals and who has routine access to the media as a result of his athletic



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accomplishments. Compl. ¶¶ 14-24. Far less famous athletes, with far fewer public credentials

to their name, have been found to be public figures. See, e.g., Bell, 584 F. Supp. at 130 (finding

professional football player to be a public figure in light of being a “star athlete in high school,”

setting several records in college, and playing for the Pittsburg Steelers for five years); see also

Curtis Pub. Co. v. Butts, 388 U.S. 130, 154 (1967) (holding that university athletic director was a

public figure). Indeed, Zimmerman appears to concede that he is a public figure required to

plead actual malice. See id. ¶ 64 (incanting magic words for “actual malice”: conclusorily

pleading that “Defendants” published with “actual knowledge of falsity or with reckless

disregard for the truth”).

        B.      Zimmerman Pleaded No Facts That Would Support A Finding Of Actual
                Malice Against Collins

        Because Zimmerman is a public figure, he must plead facts that would support a finding

that Collins published the challenged statements with actual malice—i.e., that he knew the

statements were false or subjectively doubted that they were true. But the Complaint makes no

allegations at all as to Collins in this regard.

        Following the Supreme Court’s decisions in Ashcroft v. Iqbal, 556 U.S. 662, and Bell

Atlantic Corp. v. Twombly, 550 U.S. 544, federal courts adjudicating defamation actions brought

by public figures have made clear that unadorned allegations that a defendant acted with actual

malice are insufficient to state a viable claim. Michel v. NYP Holdings, Inc., No. 15-11453, 2016

WL 860647, at *11 (11th Cir. Mar. 7, 2016) (“[E]very circuit that has considered the matter has

applied the Iqbal/Twombly standard and held that a defamation suit may be dismissed for failure

to state a claim where the plaintiff has not pled facts sufficient to give rise to a reasonable

inference of actual malice.”); Biro v. Condé Nast, 807 F.3d 541, 544-45 (2d Cir. 2015) (“[actual]

malice must be alleged plausibly in accordance with Rule 8.”), petition for cert. pending (Mar. 8,


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2016); Pippen v. NBCUniversal Media, LLC, 734 F.3d 610, 614 (7th Cir. 2013) (“States of mind

may be pleaded generally, but a plaintiff still must point to details sufficient to render a claim

plausible.”); Mayfield v. NASCAR, 674 F.3d 369, 377 (4th Cir. 2012) (rejecting plaintiff’s

argument that allegations of actual malice “need only be articulated in the most general terms”);

Schatz v. Republican State Leadership Comm., 669 F.3d 50, 56 (1st Cir. 2012) (holding that

plaintiff’s “complaint used actual-malice buzzwords . . . [b]ut these are merely legal conclusions,

which must be backed by well-pled facts”). Instead, a plaintiff must provide enough facts “to

raise” the existence of actual malice “above the speculative level.” Mayfield, 674 F.3d at 377.

       Moreover, where a public figure plaintiff brings a claim against an independent

contractor hired by a news organization, as Collins is here, he must plead facts supporting actual

malice as to each of the organization and the contractor. Murray v. Bailey, 613 F. Supp. 1276,

1281 (N.D. Cal. 1985) (“apart from the application of respondeat superior, an individual cannot

be held liable unless . . . the individual himself has been actuated by actual malice.”); cf.

McFarlane, 74 F.3d at 1303 (Esquire magazine not vicariously liable for alleged fabrication by

author of allegedly defamatory article who was not magazine’s employee because magazine did

not control process by which author “turned raw data into [the] finished article”); Price v. Viking

Penguin, Inc., 881 F.2d 1426, 1446 (8th Cir. 1989) (author’s reckless disregard could not be

imputed to book publisher because author was independent contractor); D.A.R.E. Am. v. Rolling

Stone Magazine, 101 F. Supp. 2d 1270, 1280 (C.D. Cal. 2000) (independent contractor’s

knowledge of falsity could not be imputed to publisher), aff’d, 270 F.3d 793 (9th Cir. 2001).

Therefore, because actual malice cannot be imputed from defendant to defendant, a plaintiff

must plead actual malice as to each defendant individually. Quite simply, there is not a single

allegation of fact that could even arguably support a finding that Collins, to the extent he



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properly could be said to have participated in publication of the challenged statements at all

(which he did not), either knew them to be false, or proceeded despite believing they likely were

false. For this additional reason as well, the Complaint should be dismissed as to Collins.

                                         CONCLUSION

       For the foregoing reasons and those stated by the Al Jazeera Defendants, Collins

respectfully requests that the Court dismiss the Complaint against him with prejudice.

Dated: April 8, 2016                        Respectfully submitted,

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